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~AO 245D     (Rev. 12/07) Judgment in a Criminal Case for Revocations
             Sheet 1



                                     UNITED STATES DISTRICT COURT
                                                         Southern District of Illinois

         UNITED STATES OF AMERICA                                       Judgment in a Criminal Case
                    v.
                 KEVIN L. REDMON




                                                                         06848-025
THE DEFENDANT:
~ admitted guilt to violation of condition(s)
o   was found in violation of condition(s)
The defendant is adjudicated guilty of these violations:

Violation Number             Nature of Violation                                                        Violation Ended
Statutory                      The defendant tested positive for marijuana                              03/05/2010



Standard # 2                   The defendant failed to submit monthly reports timely                    12/31/2007



       The defendant is sentenced as provided in pages 2 through _---.:3~_ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
o   The defendant has not violated condition(s) _ _ _ _ _ _ _ and is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully paid. If ordered to pay restitution, the defendant must notify the court and United States attorney of material changes ill
economic circumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 5683                      04/26/2010

Defendant's Year of Birth:         1965

City and State of Defendant's Residence:
McLeansboro, IL 62859
                                                                         J. Phil                                District Judge



                                                                                                    Date
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                                                                                                             2_
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DEFENDANT: KEVIN L. REDMON
CASE NUMBER: 4:06CR40025-002-JPG

                                                       ADDITIONAL VIOLATIONS

                                                                                                                  Violation
Violation Number                Nature of Violation                                                               Concluded
Standard # 3                    The defendant failed to provide truthful information to probation             03/05/2010



Standard # 6                    The defendant failed to notify probation of change in employment              06/12/2008



Standard # 9                    The defendant associated with persons in criminal activity                    03/03/2010



Statutory # 11                  The defendant failed to notify probation of being questioned by police        01/09/2008



Special                         The defendant failed to attend substance abuse counseling                         11/19/2007
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 AO 245D       (Rev. 12/07) Judgment in a Criminal Case for Revocations
               Sheet 2- Imprisonment
                                                                                                    Judgment - Page __3__ of     3
 DEFENDANT: KEVIN L. REDMON
 CASE NUMBER: 4:06CR40025-002-JPG


                                                                   IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
4 months




       o The court makes the following recommendations to the Bureau of Prisons:



       o The defendant is remanded to the custody of the United States Marshal.
           The defendant shall surrender to the United States Marshal for this district:
           ~ at         09:00                         ~ a.m.         o p.m.    on    04/28/2010

           o     as notified by the United States Marshal.

       o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         o before 2 p.m. on
         o as notified by the United States Marshal.
         o as notified by the Probation or Pretrial Services Office.
                                                                          RETURN

  I have executed this judgment as follows:




           Defendant delivered on                                                        to

  at   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ with a certified copy of this judgment.




                                                                                                 UNITED STATES MARSHAL


                                                                              By ________________~_=_ _- - - - - - - - - - - - - - -
                                                                                              DEPUTY UNITED STATES MARSHAL
